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 1                                                                    Honorable Ricardo S. Martinez

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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8   UNITED STATES OF AMERICA,
                                                           No. CR 08-0296 RSM
 9                                   Plaintiff,
                                                           ORDER GRANTING UNOPPOSED
10          v.                                             MOTON TO ALLOW JEFFREY I.
                                                           GREENSTEIN TO TRAVEL
11   JEFFREY I. GREENSTEIN,                                INTERNATIONALLY WHILE ON
                                                           SUPERVISED RELEASE
12                                 Defendant.

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14          THE COURT has considered Jeffrey I. Greenstein’s unopposed Motion to Allow

15   Defendant to Travel While on Supervised Release,
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            Upon consideration of the foregoing Motion and the papers submitted in support
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     thereto, and good cause appearing, IT IS HEREBY ORDERED that Mr. Greenstein may
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     travel to Italy and Switzerland for business from June 10 to June 17, 2015, and travel on an
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     Alaska cruise for a family event from June 21 to June 28, 2015, while serving his term of
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21   Supervised Release, with the permission of his Probation Officer, and with such restrictions

22   and under such conditions as the United States Probation Office may require.
23          DONE this _____ day of May, 2015.
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                                                  JUDGE RICARDO S. MARTINEZ
26                                                UNITED STATES DISTRICT JUDGE

                                                               SCHROETER, GOLDMARK & BENDER
     ORDER - 1                                                  500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     Case No. CR08-0296RSM                                                             (206) 622-8000
